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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION

UNITED STATES OF AMERICA,             *
                                      * CASE NO. 4:18CR147
v.                                    *
                                      *
BARRON ROBERTSON,                     *
          Defendant.                  *


                ORDER GRANTING MOTION FOR LEAVE OF ABSENCE

      The Court, having considered counsel for Defendant's Motion for Leave of

Absence in the above-referenced case, for the stated period of November 26, 2019,

through December 9, 2019, for the purpose of personal vacation, does hereby GRANT

said Motion for Leave of Absence.

      SO ORDERED, this WK day of 1RYHPEHU 2019.


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                                United States0DJLVWUDWH-XGJH
                                Southern District of Georgia




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